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FlLED B¥._______._____ D.C.

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 nn 29 PH w 30
Eastern Division

HCBF;‘R`." F-l. Dl T_ROL|O

UNITED STATES OF AMERICA CLE§K' U_S_ D|ST Cr_

W. D. OF TN JACKSON
-vs- Case No. 1:04cr10075-001T
MELVIN STEWART

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above~named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
‘ All purposes including trial and appeal

DONE and ORDERED in 111 South Highland, Jackson, TN, this 20th day of May, 2005.

§.'rzmw@.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Oft`lce

Assistant Federal Public Defender

ISTRIC COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:04-CR-10075 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

